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               IN THE UNITED STATES DISTRICT   COURT
                       FOR THE DISTRICT OF TEXAS

Joe Hunsinger
Plaintiff Pro-Se'                                      Case No: 3-13-CV-4405-G
V.
GLASS MOUNTAIN CAPITAL, LLC.


          STIPULATED OF DISMISSAL FOR GLASS MOUNTAIN CAPITAL, LLC

It   is hereby stipulated and agreed by Plaintiff and the Defendant Glass Mountain
Capital, LLC that the parties hereby stipulate to the dismissal of Glass Mountain
Capital, LLC with prejudice and request that a judgment of dismissal for Glass
Mountain Capital to entered in the above entitled action pursuant hereto.


Respectfully submitted December 2 , 2013.

                                                            Joe un
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                                                            Dallas, Texas 75217
                                                            Joe75217@gmail.com
                                                            214-682-7677

                                CERTIFICATE OF SERVICE
     I hereby certify that a copy of the forgoing has been served upon the Defendant Glass
     Mountain Capital, LLC. on December            2013



                                                            Joe Hu to. • ger
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